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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
NORFOLK DIVISION

 

PROMONTORY INTERFINANCIAL
NETWORK, LLC,

Plaintiff,
Case No. 2113-cv-00243-MSD-DEM

v.
PUBLIC VERSION

ANOVA FINANCIAL CORPORATION,

Defendant.

 

 

PROMONTORY INTERFINANCIAL NETWORK, LLC’S MEMORANDUM IN
SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT OF
NONINFRINGEMENT AND VALIDITY

This case arose When Anova Financial Corporation’s (“Anova”) made baseless
accusations that Promontory Interflnancial Network, LLC (“Promontory”) Was infringing
Anova’s patents. (Complaint [Dkt. No. l] at 1111 9-12). Anova made the accusations in an effort
to coerce Promontory into acquiring Anova’s business. (Id. at 11 10). In response to Anova’s
accusations, Promontory filed its complaint for a declaratory judgment of noninfringement of
Anova’s patents,] and infringement of Promontory’s patents.2

ln response, Anova maintained its earlier accusations and filed a counterclaim alleging
infringement of the Anova Patents, as well as counterclaims for invalidity of the Promontory
Patents. Now, however, mere Weeks before the close of discovery, Anova has still not presented
and cannot present any evidence to support its claims. Instead, Anova has stiff-armed
Promontory’s straightforward discovery requests seeking the basis of its claims and then_When

the time came to provide expert disclosures in support of its claims_provided nothing.

 

1 U.S. Patent Nos. 7,895,099 (the “’099 patent”); 8,090,651 (the “’651 patent”); 8,301,560 (the “’560 patent”); and
7,904,372 (the “’372 patent”) (collectively, the “Anova Patents”).

2 U.S. Patent Nos. 7,596,522 (the “’522 patent), 7,603,307 (the “’307 patent”), 7,899,745 (the “’745 patent”),
7,899,746 (the “’746 patent”), 7,899,747 (the “’747 patent”), 7,921,057 (the “’057 patent”), 8,036,986 (the “’986
patent”), 8,051,004 (the “’004 patent”), and 8,051,005 (the “’005 patent”) (collectively, the “Promontory Patents”).

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As has become increasingly apparent in the course of this litigation, Anova did not
previously have and does not now have any basis for its claims of infringement by Promontory
of the Anova Patents or its claims of invalidity of the Promontory Patents. For the reasons
discussed below, Promontory is entitled to partial summary judgment that (l) the Anova Patents

are not infringed and (2) the Promontory Patents are not invalid.

I. STATEMENT OF MATERIAL FACTS NOT SUBJECT TO GENUINE
DISPUTE

The following facts are not subject to dispute, and they make the issues of
noninfringement of the Anova Patents and validity of the Promontory Patents ripe for summary
judgment disposition:

l. Promontory filed a complaint against Anova seeking, inter alia, declaratory
judgment that Promontory does not infringe the Anova Patents and judgment that Anova
infringes the Promontory Patents. (Complaint [Dkt. No. l] at 1111 30-34, 40-44, 50-54, 60-64, 70-
123).

A. Anova’s Infringement Allegations

2. In its Answer and Counterclaims, Anova alleged that Promontory was liable for
infringement of the Anova Patents by reason of “making, using, offering for sale, and selling in
the United States methods, computer programs and/or systems for facilitating financial
transactions, including but not limited to transactions involving Promontory’s ICS® and IND®
services” and by Promontory “inducing others to use, offer for sale and/or sell in the United
States methods, computer programs and/or systems for facilitating financial transactions [],
including but not limited to transactions involving Promontory’s ICS® and IND® services.”
(Answer and Counterclaims [Dkt. No. 20] at 1111 26-27, 33-34, 4()-41, 47-48 (of Counterclaims)).

3. Promontory offers several services (not just ICS and IND) that could be described
as “methods, computer programs and/or systems for facilitating financial transactions.” Anova’s

allegation in its Counterclaims did not limit the scope of its infringement allegations.

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4. Promontory’s lnterrogatory No. l, served with its First Set of Interrogatories on
July 29, 2013, sought from Anova its contentions regarding which claims of which Anova
patents-in-suit allegedly were infringed and which Promontory services it accused of infringing
those claims. (Declaration of Sharon A. lsrael (“Israel Decl.”), Ex. l at 5). lnterrogatory No. l
also sought Anova’s contention regarding how the accused Promontory services met each
limitation of the asserted claims. (Id.).

1. Scope of Anova’s Infringement Claims

5. In its original response dated September lO, 2013, Anova responded that it
“contends that Promontory’s ICS® and IND® services infringe at least Claim l of [the ’099
patent], Claim l of [the ’372 patent], Claim 7 of [the ’651 patent], and Claim 7 of [the ’560
patent].” (lsrael Decl., Ex. 2 at 6).

In its October 15, 2013, supplemental interrogatory responses, Anova identified

(Israel Decl., Ex. 3 at 7). Anova did not, in its supplemental responses, disclose any claims it

_ <See l'd-)-

7. On February ll, 2014, Promontory took the deposition of Anova’s Rule 30(b)(6)

witness, Anova’s CEO Kim Winslow. When asked whether Anova accused IND of infringing,

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(Ia'. at 212:22-213:8).

8. On March 6, 2014, the deadline for providing expert disclosures under Federal
Rule of Civil Procedure 26(a)(2), (Agreed Order Granting Joint Mot. to Amend Scheduling
Order [Dkt. No. 80] at l), Anova served the report of Ms. Ambreen Salters, which addressed-
_<1Sra@11>ecl., Ex.
5 at il 36). Ms. Salters’ report did not address any other Promontory services. (See generally
ia'.).

9. Anova did not provide any disclosures under Rule 26(a)(2) on the issues raised by
Anova of infringement of the Anova Patents or invalidity of the Promontory Patents. This was
confirmed in an email dated March 7, 2014, by counsel for Anova, explaining that the expert
report of Ms. Ambreen Salters is the only “opening expert report that we intend to rely upon at

this time.” (Israel Decl., Ex. 6).

2. Nondisclosure of Anova’s Infringement Theory

10. In its September lO, 2013, response to Promontory’s lnterrogatory No. l, Anova
did not identify where in each accused service it contended the limitations of the asserted claims
could be found. (Israel Decl., Ex. 2 at 5-6). Anova promised, however, to “provide claim charts
identifying Where each limitation of the foregoing claims is found in the ICS® and IND®

services promptly following receipt of core technical documents or other information from

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Promontory relating to the structure, function and operation of such services.” (Ia'. at 5
(emphasis added)).

ll. Promontory produced core technical documents including program agreements
and other documents setting forth the structure, function, and operation of the lCS and IND
services on September 30, 2013. (See lsrael Decl., Ex. lO at lO-ll (responding that the
execution of a complete transaction involving identified Promontory services could be derived
from Bates range PROMOOOl4587-PROM00014983); id., Ex. 25 (showing “documents Bates
numbered PROMOOOOOOOI through PROM00014991” were produced on September 30, 2013)).

12. ln its October l5, 2013, supplemental interrogatory responses, Anova did not
identify where it contended each limitation of the asserted claims was found in any accused
services. (Israel Decl., Ex. 3 at 6-7). To date, Anova still has not done so.

l3. Promontory substantially completed its production of documents on February 2l,
2014. (Israel Decl., Ex. 7). To date, Promontory has produced over 280,000 pages of
documents, including many technical documents.

l4. ln addition, pursuant to a Rule 30(b)(6) deposition notice to Promontory,
including the topic of “The creation, launch, development, structure and operation of the
Promontory Services and the systems used for providing the Promontory Services,” Anova took
the deposition of Promontory’s Senior Vice President Robert Hyland on February 21, 2014,
nearly two weeks before the deadline for opening expert reports. (lsrael Decl., Ex. 8). In fact,
the parties jointly moved to have the expert report deadlines extended so that Anova would be
able to take the Rule 30(b)(6) deposition of Promontory well in advance of the opening expert
report deadline. (Israel Decl., Ex. 9 at 4).

15. The ICS source code defines the functionality of Promontory’s ICS system.
(Declaration of Andrew Wolfe, Ph.D. (“Wolfe Decl.”) 1111 l7-l9). Anova has had the opportunity
to request inspection of Promontory’s source code since the Protective Order was entered on
January 3, 2014. (Protective Order [Dkt. No. 57] § 8.2). In addition, Promontory specifically
offered to make source code available for inspection to demonstrate to Anova the operation of

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ICS. (lsrael Decl., Ex. lO, Promontory’s First Supplemental Response to Anova’s First Set of
Interrogatories at l l). Anova has not requested to inspect Promontory’s source code for ICS or
any other Promontory service.
B. Anova’s “Invalidity” Allegations

l6. In its Answer and Counterclaims, Anova also alleged invalidity of each claim of
the Promontory Patents on the basis of “failing to satisfy one or more requirements for
patentability of Title 35 of the United States Code, including but not limited to 35 U.S.C. §§ lOl,
102, 103 and/or ll2.” (Answer and Counterclaims [Dkt. No. 20] at 35-45).

l7. ln response to an interrogatory from Promontory on Anova’s allegations of

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(See id. at 1 1-12 (Anova’s First Supplemental Response to lnterrogatory No. 4)).

18. Since October 15, 2()l3, when Anova served its first supplemental response,
Anova has not provided any additional information on its invalidity theories and it failed to
submit any expert disclosures directed to the issue of invalidity.

l9. When asked about Anova’s contentions relating to some of the identified prior art,

Am»vas Rule 30<1»)<6) deponent _
_ (See israel Dec1., Ex. 4 at 138;3-20).

20.

(Ia'.).

2l. Each of the Promontory Patents is a continuation of U.S. Patent Application No.
12/120,944, which is a continuation of the ’128 application, which was filed on January 17,
2003. (lsrael Decl., Exs. 12-20 (the Promontory Patents) at cover pages). All of the Promontory
Patents claim priority back to the ’ 128 application.3 (Israel Decl., Exs. 12, 13 at col. 1:7-14; Exs.
14, 15 at col. 1:11-17; Ex. 16 at col.1:14-21;Exs.17,18, 20 at col. 1:12-19; Ex. 19 at col. 1:10-
17). And all of the Promontory Patents share a common specification with the ’128 application.
(Declaration of Richard T. Powers (“Powers Decl.”) 11 14).

22.

 

3 The Promontory Patents also claim priority to earlier-filed applications and provisional applications, and at least
some claims are entitled to those earlier priority dates.

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C. Anova’s Failure to Provide An Expert Report on Infringement or Invalidity

24. March 6, 2014, was the date on which the parties were required to provide expert
disclosures for issues on which they bear the burden on proof. (Agreed Order Granting Joint
Mot. to Amend Scheduling Order [Dkt. No. 80] at l). As noted above, Anova confirmed that
Ms. Salters’ report is the only report on which Anova intends to rely, as of the deadline to
provide such reports. Ms. Salters’ report did not address whether ICS (or any other Promontory
service) infringed the Anova Patents. (See generally lsrael Decl., Ex. 5). Ms. Salters’ report also
did not address the validity of the claims of the Promontory Patents. (See generally ia'.). Anova
did not serve any expert reports on the issues of Promontory’s alleged infringement of the Anova

Patents or of the alleged invalidity of the Promontory Patents.

D. Operation of ICS

25. Promontory’s ICS service is a reciprocal deposit placement service provided by

Promontory to various depository institutions. In ICS, all deposits are held in

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contrast to time deposit accounts, like certificates of deposit (“CDs”), which have maturities, the
_ used in ICS are non-time, non-maturity deposit accounts. (Ia'. 11 22).

26. ICS allocates reciprocal deposits without the need for determining whether or not
the interest rates for the different deposits match. (Ia'. 11 30). This is because ICS utilizes-
_ which is part of the Jacobsen invention disclosed in the Promontory Patents.
(Id. 1[ 29).

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The _ concept works as follows:

- Because of this, ICS does not match or attempt to match interest rates that are offered
to depositors of different relationship banks. (Id.).

28. The ICS system provides for certain communications on behalf of relationship
banks with depositors through a web interface called the Depositor Control Panel. (Ia'. 1111 38-39;
Wolfe Decl. 11 30). The Depositor Control Panel informs depositors of the amount 'of their own
funds (both principal and accrued interest) on deposit with each of the depository institutions
holding their funds, but those are the only amounts the Depositor Control Panel communicates to
the depositors. (Powers Decl. 111 39-40). The Depositor Control Panel also provides identifying
information about the depository institutions holding a depositor’s deposits (such as name and
location). (Ia'. 11 39). In addition, it permits the depositor to view a list of institutions with which
its deposits might be placed and to review and reject destination banks at which its deposits are
proposed to be placed. (Ia'.).

29. The ICS system provides for emails to be sent on behalf of relationship banks to
depositors with various alerts relating to the depositors’ accounts. (Wolfe Decl. 1111 32-34).
These emails contain no deposit amounts. (See ia'. (describing code for providing emails)).

30. The Depositor Control Panel and the emails with depositor alerts are the only
means by which the ICS system communicates with depositors that have deposits placed using
the service. (Ia'. 1111 29-34; Powers Decl. 111[ 39-40).

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II. LEGAL STANDARDS FOR SUMMARY JUDGMENT

Summary judgment is appropriate where no genuine issue exists as to any material fact
and where the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). In
determining whether to grant summary judgment, the court will review the facts and inferences
in the light most favorable to the nonmoving party. Matsushl`ta Elec. Ina'us. Co. v. Zenith Radio
Corp., 475 U.S. 574, 585-87 (1986). A party opposing a properly supported motion for
summary judgment must set forth specific facts showing that there is a genuine issue for trial.
Fed. R. Civ. P. 56(c). However, the mere existence of some alleged factual dispute between the
parties will not defeat an otherwise properly supported motion for summary judgment. Anderson
v. Liberty Lobby, lnc., 477 U.S. 242, 247-48 (1986). Mere allegations in the pleadings or
conclusory statements in affidavits are insufficient to overcome a properly supported summary
judgment motion. Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). On issues for which the
nonmoving party bears the burden of proof, the moving party may show the absence of a genuine
issue of material fact “by pointing out to the district court,” even without producing evidence,
“that there is an absence of evidence to support the nonmoving party’s case.” Ia'. at 325. These
rules apply to motions for partial summary judgment as well. Fed. R. Civ. P. 56(a).

Although Promontory brought claims for declaratory judgment of noninfringement,
Anova still bears the burden of proving alleged infringement Medtronic, Inc. v. Mirowski
Family Ventures, LLC, 134 S. Ct. 843, 849 (2014). Under 35 U.S.C. § 282, patents are presumed
valid, and the party asserting invalidity of a patent bears the burden of proving that claim by
clear and convincing evidence. Microsoft Corp. v. i4i Lta'. P’Shz'p, 131 S. Ct. 2238, 2242 (2011).
The presumption mandated by Section 282 is applicable to all of the many bases for challenging
a patent’s validity. Pana’uit Corp. v. Dennison Mfg. Co., 810 F.2d 1561, 1570 (Fed. Cir. 1987).

The Federal Circuit, the law of which is controlling in this case, has repeatedly
acknowledged the efficiency of summary judgment in patent cases where, as here, “wasteful
utilization of the jury process and judicial resources” may be avoided by disposing of an issue as

a matter of law. Barmag Barmer MaschinenfabrikAG v. Murata Machl`nery, Lta'. , 731 F.2d 831,

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835 (Fed. Cir. 1984); see also Mark l Marketing Corp. v. R.R. Donnelley & Sons Co., 66 F.3d
285, 289 (Fed. Cir. 1995) (summary judgment is appropriate in a patent case); Lockwooa1 v.
American Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997). And the Supreme Court has
admonished the lower courts that summary judgment is “an integral part of the Federal Rules.”
Celotex Corp., 477 U.S. at 327. The Court has emphasized that Rule 56 should be “construed
with due regard for the rights of persons opposing claims and defenses” that - like
Anova’s here -“have no factual basis.” Id. This is a case in which summary judgment is not just
appropriate; it is necessary.

III. SUMMARY JUDGMENT IS WARRANTED AGAINST ANOVA

Promontory brought its claims for declaratory judgment of noninfringement to end
Anova’s attempts to coerce Promontory into buying Anova with unfounded accusations of
infringement Through the ensuing eleven months of litigation, Anova has asserted and
maintained its counterclaims for infringement and invalidity without once putting forth an
explanation of its theories, let alone any evidence to support them. ln fact, if Anova had
performed proper due diligence before filing its counterclaims, it would have known that it could
not have met its burden, because it would have seen that the Promontory services do not practice
the Anova Patents.

As set forth above, Anova alleged in its Answer and Counterclaims that Promontory was
liable for infringement of the Anova Patents by Promontory through Promontory’s “methods,
computer programs and/or systems for facilitating financial transactions, including but not
limited to transactions involving Promontory’s ICS® and IND® services.” (Answer and
Counterclaims [Dkt. No. 20] at 1111 26-27, 33-34, 40-41, 47-48 (of Counterclaims)). Now,
however, as also set forth above, Anova has apparently chosen not even to pursue its
infringement claims against Promontory services other than ICS. And as discussed further below,
Anova has not presented and cannot present evidence from which a fact finder could conclude

that Anova had met its burden to show that ICS infringes or that the Promontory Patents are

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invalid. Accordingly, the Court should grant summary judgment dismissing Anova’s
infringement and invalidity counterclaims in their entirety, with respect to all Promontory
services and all the Promontory Patents.

Multiple independent grounds support granting summary judgment:

First, Anova, having the burden of proof, has failed even to identify any evidence that
would potentially establish that ICS (or any other Promontory service) practices all the elements
of any of the claims of the Anova Patents or that the Promontory Patents are invalid. Without
such evidence, there is nothing for Promontory to dispute. It is therefore entitled to judgment as
a matter of law.

Second, Anova, having the burden of proof, cannot meet that burden because it has failed
to provide any expert testimony to support its claims of infringement or invalidity. The
technology at issue in this case, which includes financial services implemented through software,
corresponding to source code executed by a computer, is outside the experience of a layperson
and therefore requires expert explanation. Anova’s failure to provide the requisite expert
disclosure means that it cannot present the expert testimony that would be essential for it to
prove its case. See Fed. R. Civ. P. 37(c)(1).

Third, even if Anova were allowed to try to prove its infringement case without expert
testimony, Anova would be unable to do so, because the undisputed facts show that the ICS
service does not practice all the elements of any claim of the Anova patents. Although the
burden is not on Promontory to prove noninfringement, Promontory shows below that
Promontory in fact does not infringe.

When a party, like Anova here, cannot prove its case, the Court not only can but should
grant summary judgment to prevent the wasteful exercise of a trial on issues that the party has no
chance of proving and that only serves to impose cost and burden on the other party and the
judicial system. Indeed, as the Supreme Court has stated, in such a case “Rule 56(c) mandates
the entry of summary judgment.” Celotex Corp., 477 U.S. at 322 (emphasis added) (now Rule
56(a)).

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A. Anova Has Identified No Evidence Showing Promontory Infringes or That The
Promontory Patents Are Invalid.

Despite Promontory’s diligent attempts during discovery, Anova has yet to provide any
support for its allegations of infringement and invalidity. Disposing of such “factually
unsupported claims” is “[o]ne of the principal purposes of the summary judgment rule.” Ia'. at
323-24.

At no point in this litigation has Anova accused any Promontory service other than IND
and ICS of infringing any claim of the Anova Patents. As also set forth above, _
_, damages expert report, and_ have made it clear that
Anova no longer is accusing the IND service of infringement As Anova has been unable to
even articulate what claims are allegedly infringed by Promontory’s services other than ICS,
summary judgment of non-infringement should be granted with respect to Promontory’s non-ICS
services.

With respect to lCS, Anova has done no more than identify certain claims of the Anova
Patents that are allegedly infringed. As set forth above, Anova has failed to articulate any theory
as to why ICS infringes, and has not provided promised claim charts in response to Promontory’s

interrogatory on Anova’s infringement allegations. Moreover, Anova has failed to provide any

expert report on the topic of infringement, and its _
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case, Anova has utterly failed to articulate any theory or present any evidence as to why even a
single claim of the Anova Patents is allegedly infringed by ICS. For at least this reason summary
judgment of non-infringement should be granted with respect to ICS.

Similarly, Anova has failed to articulate any theories as to why any claim of any of the
Promontory Patents is invalid. As set forth above, Anova has provided nothing other than a list
of references, none of which are even prior art to Promontory’s patents (as shown below), and

mere categories of alleged prior art. Furthermore, Anova has also declined to provide an expert

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report on any alleged invalidity challenges to Promontory’s patents. For at least these reasons

summary judgment of validity of the Promontory Patents should be granted.

B. Expert Testimony Is Required to Show Infringement of the Anova Patents and
Invalidity of the Promontory Patents.

Anova cannot succeed in proving its claims without expert testimony. The technology at
issue is sufficiently complex that “relevant expert testimony regarding matters beyond the
comprehension of laypersons is . .. essential.” Centricut, LLC v. Esab Group, Inc., 390 F.3d
1361, 1369 (Fed. Cir. 2004).

For infringement, Anova cannot meet its burden without presenting expert testimony
explaining how ICS works and applying the claims to ICS. The operation of the ICS system is
governed by software, the operation of which is described by the source code. (Wolfe Decl. 1111
17-19). The agreements between Promontory and the various financial institutions in the
Promontory Network are also necessary to understanding how ICS operates. (Powers Decl. 11 16).
Both the interpretation of source code and the significance of financial terms of art in
Promontory’s agreements and procedure manuals are “beyond the comprehension of laypersons”
and require explanation by an expert witness. And Anova’s corporate representative testified
that determining whether a product or service fit within the claims of the Anova Patents was
beyond even his expertise. (lsrael Decl., Ex. 4 at 126:19-24). Similarly, for invalidity, the
complexity of the technology at issue means Anova cannot meet its burden without presenting
expert testimony “for example, to establish the existence of certain features in the prior art . . . or
the existence (or lack thereof) of a motivation to combine references.” Wyers v. Master Lock Co.,
616 F.3d 1231, 1240 n.5 (Fed. Cir. 2010) (citations omitted).

The claims in both the Anova Patents and the Promontory Patents relate to systems,

methods, or computer program products for use in providing flnancial services that involve

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transactions between and among different financial institutions facilitated by the service provider.
ln a case involving claims directed to another system for financial transactions, the Federal
Circuit held that applying prior art to claims directed to “a system for activating multifunction
cards [such as pre-paid phone cards and electronic gift cards] using a point-of-sale (“POS”)
terminal, such as a cash register or a freestanding credit card reader” required expert testimony.
Alexsam, Inc. v. IDT Corp., 715 F.3d 1336, 1339, 1347-48 (Fed. Cir. 2013). The patent claims
and accused ICS service at issue in this case bear much greater similarity to the system for
exchanging transactional information in Alexsam than to the technologies at issue in cases where
expert testimony has been found unnecessary, none of which involved source code. Compare ia’.
with, e.g., Meyer lntellectual Props. Ltcl. v. Boa'um, Inc., 690 F.3d 1354, 1374 (Fed. Cir. 2012)
(holding prior art consisting of a “3-Cup French Press” did not require expert explanation);
Wyers, 616 F.3d at 1233, 1242 (expert testimony not required where patent covered “hitch pin
locks that secure trailers to cars and sport utility vehicles”); Prima T ek 11, L.L.C. v. Polypap
S.A.R.L., 412 F.3d 1284, 1286, 1290 n.7 (Fed. Cir. 2005) (expert testimony not required where
claims directed to “an assembly and method for displaying a floral grouping”).

ln cases such as this one, where expert testimony is required and not provided by the
party with the burden of proof, that party cannot prove its case. Since Anova cannot prove its
case, summary judgment is required. Celotex Corp., 477 U.S. at 322. This protects the rights of
defendants, like Promontory, that are subjected to baseless claims by preventing “factually
insufficient claims . . . from going to trial with the attendant unwarranted consumption of public
and private resources.” Ia'. at 327; see also Avia Group Int’l, Inc., v. L.A. Gear California, Inc.,
853 F.2d 1557, 1561 (Fed. Cir. 1988) (rejecting arguments that summary judgment “deprived”

patent owner of trial where patent owner failed “to put in sufficient evidence to create a triable

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issue of any material fact”), abrogated on other grounds by Egyptian Goddess, Inc. v. Swisa, Inc.,
543 F.3d 665, 671, 678 (Fed. Cir. 2008) (en banc). Thus, in Campbell v. United States, the
Fourth Circuit affirmed summary judgment against plaintiff based on her inability to present
expert testimony on elements of her cause of action. 470 Fed. App’x. 153, 157-58 (4th Cir.
2012). Similarly here, expert testimony is essential to prove infringement or invalidity, and its
absence warrants a summary judgment against Anova on the claims for which it bears the burden
of proof, See also Centricut, LLC, 390 F.3d at 1370 (holding that the patent owner could not

carry its burden on infringement without expert testimony).

C. Promontory’s ICS Service Does Not Infringe Because It Does Not Meet Each
Limitation of the Asserted Claims.

` Anova’s failure to provide any theory or evidence of infringement, and its inability to
prove infringement through expert testimony, are both justifications enough for granting
summary judgment to Promontory. Because it is Anova’s burden to prove infringement,
Promontory is entitled to summary judgment even without presenting evidence of
noninfringement Nevertheless, Promontory is entitled to summary judgment for the
independent reason that, as shown by the evidence, including the concurrently filed expert
declarations of Rich Powers and Dr. Andrew Wolfe and exhibits thereto, at least one element
from every claim of the Anova Patents is absent from ICS.

Nor are these few claim limitations the only ones that are absent from its ICS service.
For example, Promontory’s ICS service does not infringe the ’099 and ’372 patents because all
the claims of those patents require “aggregating funds of multiple investors prior to depositing
m in order to create a more stable funds source.” (Markman Order [Dkt. No. 66] at 37-38
n.12 (underlining in original)). ICS does not aggregate funds, either prior to or after depositing
the funds in banks. Furthermore, ICS does not infringe the ’651 and ’560 patents because the
claims of those patents all require an “exchange” of funds, meaning that funds are transferred

away from one bank to another, such as by ACH or Fedwire. (See lsrael Decl., Ex. 21 at 6:8-22,

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16:14-43). The ICS service does not perform such an exchange of funds. _

_ Promontory will provide expert disclosures supporting its non-

infringement arguments relating to these and many other missing limitations at the time for such
disclosures on topics for which the party does not bear the burden of proof.

Moreover, as explained in Promontory’s March 6, 2014, expert disclosures, Promontory
has been using the same procedures that it uses in ICS in its CDARS® service since long before
the Anova Patents were filed. Thus, any theory Anova might put forward that ICS fits within the

scope of the claims renders those claims invalid over CDARS.

1. Promontory’s ICS Service Does Not Infringe the ’651 Patent or the
’560 Patent For at Least the Reason That It Does Not “Exchange
Deposits” by Matching Requirements that Include a “Maturity.”

All of the asserted claims of the ’651 patent and the ’560 patent require an “exchange”
performed “in response to determining that the first set of requirements matches the second set of
requirements.” (lsrael Decl., Ex. 21 at claims 1, 7, 30; Id., Ex. 22 at claims 1, 7, 30; see Powers
Decl. 11 20). The claims also require that the first and second sets of requirements are defined,
respectively, by first and second requests from first and second banks. (lsrael Decl., Ex. 21 at
claims 1, 7, 30; la'., Ex. 22 at claims 1, 7, 30; see Powers Decl. 11 20). Also, all of the claims
require that “each of the first and second sets of requirements includes almaturity and an interest
rate.” (lsrael Decl., Ex. 21 at claims 1, 7, 30; Id., Ex. 22 at claims 1, 7, 30; see Powers Decl. 11
19).

ICS does not-and cannot_infringe any of these claims because the deposit accounts
involved in ICS have no maturity at all. (Powers Decl. 11 23). As Mr. Powers explains, the plain

and ordinary meaning of “maturity” to a person of ordinary skill in the art is “a date on or after

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which the deposit may be withdrawn without penalty (or a period of time between deposit and
that date).” (Ial. 1111 21-22). In ICS, all deposits are held in _ which are non-
time, non-maturity deposit accounts. (Ia'. 1111 23-24; ia'., Ex. 4). lndeed, Anova’s own documents
demonstrate that it has been well aware since well before this litigation that ICS includes only
deposits without maturities. (Id. 11 25 (discussing Powers Decl., Ex. 5)).

Since the accounts involved in ICS have no maturity, ICS does not receive requests from
banks “defining a first (or second) set of requirements” wherein “each of the first and second set
of requirements includes a maturity,” as required by all of the claims of the ’560 and ’651 patents.
ICS does not store or utilize any maturity information about deposits being processed by the
system at any point. (Ia'. 1111 26-27 (relying, in part, on Wolfe Decl.)). ICS therefore cannot
possibly “determin[e]” that the two sets of requirements including maturities “match” or
“perform[] an exchange” in response to such a determination, both of which are also
requirements of the claims. (Ial. 11 27).

ICS also never “determin[es]” whether two sets of requirements “match . . . wherein the

first and second sets of requirements includes . . . an interest rate.” Rather than matching interest

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_ (Id. 11 32). Because of _, deposits are allocated without ever

determining, or having any need to determine, whether interest rates match. (ld. 1111 32-33).
Because both of these requirements appear in every independent claim of the ’651 patent
and the ’560 patent, and because Promontory’s ICS service does not fall within either of them,

ICS cannot infringe any claim of those patents. Therefore, even if Anova had offered any

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infringement theory or expert testimony, Promontory would still be entitled to summary

judgment of noninfringement of the ’651 and ’560 patents.

2. Promontory’s ICS Service Does Not Infringe the ’099 Patent or the
’372 Patent For at Least the Reason That It Does N ot “Communicate”
to Depositors “the Amount of Money Collectively Needed” By the
Commercial Banks.

All of the asserted claims of the ’099 patent and the ’372 patent require “communicating”
the amount of money collectively needed by the plurality of different commercial banks (that is,
the banks that receive placed funds) to the plurality of depositor groups. (Powers Decl. 1111 35-
36). At no point does ICS communicate the amount of money collectively needed by the
different banks to depositors. (Id. 11 38).

As stated above, the ICS system provides for certain communications on behalf of
relationship banks with depositors through a web interface called the Depositor Control Panel
and for certain emails on behalf of relationship banks with depositor alerts. (Ia'. 1111 38-39; Wolfe
Decl. 1111 29-34). At no point, however, does the Depositor Control Panel or any such email
communicate to any depositor “the amount of money collectively needed by the different
commercial banks,” or, indeed, any amount of money at all, other than a depositor’s own
balances. (Powers Decl. 1111 39-40; Wolfe Decl. 11 35).

Because Promontory does not communicate the amount of deposits collectively needed
by commercial banks to the ICS depositors, and because all of the asserted claims of the ’099
patent and the ’372 patent require this limitation, Anova cannot show that Promontory’s ICS
service infringes either of these two patents. Promontory is therefore entitled to summary

judgment of noninfringement of the ’099 and ’372 patents.

D. Promontory Is Entitled to Summary Judgment That the Promontory Patents Are
Not Invalid Because Anova Cannot Rebut the Statutory Presumption of Validity.

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Anova cannot present evidence to support its vague allegations of invalidity of the
Promontory Patents. Therefore, Promontory is entitled to summary judgment on the issue of
validity of its patents. “In an infringement action, it is not part of a patent owner’s initial burden
of going forward with proof of its case to submit evidence supporting validity. Rather, the
burden is first on a challenger to introduce evidence which raises the issue of invalidity,” which
the challenger must meet by “establish[ing] facts, by clear and convincing evidence, which
persuasively lead to the conclusion of invalidity.” Avia Group lnternational, Inc., v. L.A. Gear
Call`fornia, Inc., 853 F.2d 1557, 1562 (Fed. Cir. 1988).

The only invalidity grounds Anova has identified with any specificity fail because they
rely on references that do not qualify as prior art. As noted above, the asserted claims of the
Promontory Patents are all entitled to a priority date no later than January 17, 2003, the date
when the ’128 Application was filed, because all of the Promontory Patents claim priority to

the ’128 Application on the basis of continuation applications with the same written description.

(Israel Decl., Exs. 12-20 at cover pages) The identified art includes _

_ Even on their face, Anova’s contentions that these references

invalidate the Promontory Patents fail because the references were not filed, published, known,
used, or on sale prior to the effective filing date of the Promontory Patents. 35 U.S.C.A. § 102(a),
(b) (West 2012); see Transco Proa's. Inc. v. Performance Contracting, Inc., 38 F.3d 551, 556

(Fed. Cir. 1994) (“The courts have repeatedly recognized [the] principle” that continuation

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applications under 35 U.S.C. § 120 “‘shall have the same effect’ as if filed on the date of the

application upon which it claims priority.”).

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_(lsrael Decl., Ex. 3 at 12-19). This, too, fails on its face. The

Promontory Patents are all continuations of the ’128 Application. (Israel Decl., Exs. 12, 13 at

col.1:7-14;Exs.14,15 at col. 1:11-17; Ex. 16 atcol.1:14-21;Exs.17,18, 20 at col. 1:12-19; Ex.

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Anova’s contention is essentially that

Promontory Patents are prior art to themselves.

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-(lsrael Decl., Ex. 3, Anova’s First Supplemental Responses to Promontory’s First Set of

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Not only does Anova rely on vague contentions of invalidity based on -

_, it has failed to present any expert disclosures on the

issue of invalidity. For the reasons previously discussed, Anova cannot prove invalidity without

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expert testimony, and Anova has no such testimony. Anova cannot meet its burden to prove

invalidity in this case, and Promontory is therefore entitled to summary judgment that the

Promontory Patents are not invalid.

IV. CONCLUSION

For the foregoing reasons, Promontory’s motion for partial summary judgment of

noninfringement of the Anova Patents and validity of the Promontory Patents should be granted.

Dated: March 13, 2014

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Respectfully submitted,

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CERTIFICATE OF SERVICE

l hereby certify that on March 13, 2014, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send a notification of such filing (NEF) to the
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